  EXHIBIT B




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Case 2:24-cv-00416-PP   Filed 04/06/24   Page 4 of 6   Document 1-2
   ALERT: SEVERE WEATHER CONDITIONS ACROSS THE U.S. MAY DELAY FINAL DELIVERY OF Y…


USPS Tracking
                                  ®                                                                FAQs 




                                                                                                Remove 
Tracking Number:

70201290000002546347
    Copy         Add to Informed Delivery (https://informeddelivery.usps.com/)




    Latest Update




                                                                                                            Feedback
    Your item was delivered to an individual at the address at 9:18 am on December 13, 2023 in MILWAUKEE,
    WI 53233.



    Get More Out of USPS Tracking:
        USPS Tracking Plus®


    Delivered
    Delivered, Left with Individual
    MILWAUKEE, WI 53233
    December 13, 2023, 9:18 am


    Departed USPS Regional Facility
    MILWAUKEE WI PROCESSING CENTER
    December 13, 2023, 8:11 am


    Arrived at USPS Regional Destination Facility
    MILWAUKEE WI PROCESSING CENTER
    December 12, 2023, 8:56 am


    In Transit to Next Facility
    December 10, 2023


    Arrived at USPS Regional Origin Facility
    CHARLOTTE NC DISTRIBUTION CENTER
    December 6, 2023, 12:00 am

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     Departed Post Office
     CHARLOTTE, NC 28277
     December 5, 2023, 5:02 pm


     USPS in possession of item
     CHARLOTTE, NC 28277
     December 5, 2023, 4:54 pm


     Hide Tracking History



 What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                             
   Text & Email Updates


                                                                                             
   USPS Tracking Plus®


                                                                                             
   Product Information


                                                 See Less 

Track Another Package


 Enter tracking or barcode numbers




                                         Need More Help?
                             Contact USPS Tracking support for further assistance.


                                                    FAQs




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